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                        UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION



CHRISTOPHER MARK PARIS,and
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL,LLC

Plaintiffs,                                           Case No. 8:19-cv-00423


vs.

                                                                                   vo

WILLIAM LEVINSON,
                                                                                             .J

LEVINSON PRODUCTIVITY
SYSTEM,PC,a Pennsylvania
Corporation

Defendants



                 MOTION TO VACATE FOR FAILURE TO PROVE
              JURISDICTION.FAILURE TO DEMONSTRAT DAMAGES.
                 AND NEW DISCOVERY OF PLAINTIFF'S MOTIVE


On May 18,2020 the above case was closed by Judge William Jung. However, on four
separate occasions over the previous eight weeks the plaintiff attempted to re-open the
case without providing new discovery as required. Therefore the court ruled the CASE
CLOSED four times consecutively. The court is now to rule closure a 5th time despite
no additional discovery. Not only is this clear violation of defendant(s) due process
rights, it has become a mockery ofthe legal system.

It's now evident this court refuses to back ofF the defendants, even after ruling the case
closed four(4)consecutive times without any new discovery. Therefore, this court is
now on notice for the fifth time, it lacks jurisdiction over the defendants and any claims
to have jurisdiction without proving jurisdiction is clearly unconstitutional. The
defendant is left with no choice but to demand Judge Jung take mandatory judicial
notice ofthe following cases and similar cases:

"When ajudge knows that he lacks jurisdiction, or acts in the face of clearly valid
statutes expressly depriving him ofjurisdiction,judicial immunity is lost."
[Rankin v. Howard,(1980)633 F.2d 844, cert. den. Zeller v. Rankin, 101 S.Ct. 2020,
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451 U.S. 939,68 L.Ed 2d 326]

"A judge must be acting within his jurisdiction as to subject matter and person, to be
entitled to immunity from civil action for his acts." [Davis v. Burris, 51 Ariz. 220, 75
P.2d 689(1938)]

"When a judicial officer acts entirely withoutjurisdiction or without compliance with
jurisdiction requisites he may be held civilly liable for abuse of process even though his
act involved a decision made in good faith, that he had jurisdiction."
[Little V. U.S. Fidelity & Guaranty Co., 217 Miss. 576,64 So. 2d 697]

"No judicial process, whatever form it may assume, can have any lawful authority
outside ofthe limits ofthe jurisdiction ofthe court or judge by whom it is issued; and an
attempt to enforce it beyond these boundaries is nothing less than lawless violence."
[Ableman v. Booth, 21 Howard 506(1859)]

"We (judges) have no more right to decline the exercise ofjurisdiction which is given,
than to usurp that which is not given. The one or the other would be treason to the
Constitution."[Cohen v. Virginia,(1821),6 Wheat. 264 and U.S. v. Will, 449 U.S. 200]

"Once jurisdiction is challenged, the court cannot proceed when it clearly appears that
the court lacks jurisdiction, the court has no authority to reach merits, but, rather, should
dismiss the action." Melo v. US,505 F2d 1026.

"Court must prove on the record, all jurisdiction facts related to the jurisdiction
asserted."Latana v. Hopper, 102 F. 2d 188; Chicago v. New York, 37 F Supp. 150.

"The law provides that once State and Federal Jurisdiction has been challenged, it must
be proven." Main v. Thiboutot, 100 S. Ct. 2502(1980).

"Once challenged,jurisdiction cannot be assumed, it must be proved to exist." Stuck v.
Medical Examiners,94 Ca 2d 751. 211 P2d 389.

"There is no discretion to ignore that lack ofjurisdiction." Joyce v. US,474 F2d 215.
"The burden shifts to the court to prove jurisdiction." Rosemond v. Lambert,469 F2d
416.


Since this court continues to further burden the defendants by "closing" the case on four
different occasions(and soon to be a fifth time), despite COMPLETELY lacking
personal jurisdiction and refusal to PROVE JURISDICTION, it is the defendant's duty
to inform this non-jurisdictional court of its unconstitutional acts, and to hold those
involved accountable.
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                               NOTICE OF LIABILITY
Let it be known,on June 15,2020 defendant served Judge Jung with a Notice of
Liability(NOL)under witness testimony. The NOL is a legal binding contract between
Daryl Guberman and William Jung, the man. Therefore, Judge William Jung either
needs to recuse himself from this case due to conflict of interest, or provide the
information he claims or assumes to posses based on his May 18, 2020 ruling,
specifically proof ofjurisdiction to order such a substantial monetary judgment, and
proofof damages which was never presented to the defendant(s) outside a list of
fictitious companies presented as "prospects" and "lost business" by the plaintiff.

The NOL demonstrates the court's May 18, 2020 ruling relied exclusively on a 'default
judgment' due to the plaintiffs failure to prove any damages and failure to demonstrate
defendant's involvement in the alleged defamation, whether it was allegedly spoken,
written, or otherwise. Further, the defaultjudgment of over $1.6 million is the result of a
'contempt of court' in which the defendant was penalized for not appearing in a court
across the country 2,000 miles from his home to defend a frivolous claim in a court that
lacks personal jurisdiction, and a court that never proved jurisdiction when challenged to
do so.


              JURISDICION AS PER VENUE AND CONVENIENCE
Even where personal jurisdiction, subject matter jurisdiction, and venue all are proper,
which is lacking in this matter, a court nevertheless may conclude, as a matter of law, or
even ofcommon sense, that a dispute should be litigated somewhere else. Thus,the non
local litigant shall be given the opportunity by the court to avoid litigation in an
unfavorable non-local U.S. court by seeking to transfer the case from one federal district
to another, or to have it dismissed in its entirety. This courtesy was never offered to the
defendants at anytime in these proceedings. Rather, defendants were threatened by the
moving party with imprisonment for not traveling from Connecticut to Florida and as
result was placed in contempt of court. This concept—^which arises primarily in the
federal court system—is referred to as one of"proper venue" which this court failed to
present or even consider. Moreover, when considering the proper venue of a lawsuit,
courts generally look for a sensible relationship between the dispute and the forum.
Thus, while the court may consider many factors in this analysis, the primary issue is
whether the forum has some "connection" to the parties or the subject matter ofthe
lawsuit. Where this link does not exist as in this matter, a court may transfer the case to
another forum with a greater interest in the outcome ofthe dispute, or it should dismiss
the case entirely (e.g., so that it may be brought in a more appropriate forum within or
outside the U.S.) equally fair to all parties. A second alternative, which this court failed
to address in its contempt of court ruling, is for the court to dismiss the case on what is
called "forum non- conveniences" grounds. This may occur when the court determines
that an adequate alternative forum exists to resolve the lawsuit such as an equal travel
distance for all parties. In cross-border litigation, this issue commonly turns on questions
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ofthe residences ofthe parties, employment, income, location ofthe evidence, location
and availability of witnesses, respective burdens on the parties of proceeding in the
initial forum, and the potential impact ofthe lawsuit on the relationship between the
U.S. and a sovereign citizen or nation. Courts also consider whether or how bringing the
suit in an alternate forum would impact the substantive rights ofthe parties—e.g.,
if one party stands to gain a material advantage in the alternate forum such as the
plaintiff in the matter, the court may or at least should be more reluctant to dismiss the
case. Finally, in this matter, the defendant was especially mindful ofthe timing of raising
an objection in terms of venue, and objected to the distance and inconveniences it would
cause in his first motion to dismiss. The objection was ignored by the court and never
addressed.


                 PLAINTIFPS ALLEGATIONS HAS BEEN PROVEN
                NUMEROUS TIMES TO BE FALSE AND MALICIOUS
   1. In his claim the petitioner/plaintiff(Christopher Paris, Oxebridge) knowingly
      falsified facts by claiming defendant posted defamatory articles on a website
      called Ripoffreport.com. However, a third defendant (William Levinson)took
      complete responsibility for posting the alleged defamatory articles on the
      Ripoffreport.com website. Jung ignored the matter.(See DOC 66 Page 2).

   2. Plaintiff knowingly lied about five companies as being "Florida contacts" of
      defendant in attempt to gain jurisdiction failing to exist. However, all five
      companies confirmed in a letter they are neither customers of defendant nor
      have any relationship with the defendant. Therefore, this leaves the Plaintiff
      without demonstrating a single Florida contact of the defendant.(See Doc 107).

   3. In summary judgment Paris falsely claimed $2.1 million (initially the claim was
      for $75,000) in "damages" as lost customers and proposals. However, the
      plaintiff failed to present a single business or proposal that was claimed to be
      "lost" due to alleged defamation. The plaintiff failed to present supporting
      affidavit(s)from third parties, failed to present the proposals he claimed to have
      submitted, and failed to demonstrate any form of lost business or revenues due
      to the alleged defamation. Further, the plaintiff presented a list of fictitious and
      UNVERFIABLE "companies" he claimed to be "prospects." Not a single
      business name and business address was presented to enable the defendant
      the opportunity to confirm the allegations of "lost revenues". In short, Paris
      fabricated the company names and presented them as "prospects" in his bogus
      claim to extort money from defendants in a frivolous claim.(See Doc 107).
   4. Exhibit A shows the plaintiffs bogus claim as a victim in this matter when in fact
      he's been harassing the defendant for over seven years with false complaints to
      federal agencies. Exhibit A demonstrates the plaintiffs latest acts submitting a
      false complaint to the Federal Election Committee(FEC)in effort to further
      burden the defendant during these proceedings. The FEC investigated the
      matter and found the plaintiff(CHRISTOPHER PARIS)to have submitted false
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      information. Federal authorities are being asked to investigate the matter of the
      plaintiff knowingly submitting false information to a federal agency to harm the
      reputation of an opposing party in a federal lawsuit.

                             DISMISS THE PREJUDICE
This is a COURTESY MOTION in which the court is on notice the defendant does not
surrender to this court's jurisdiction and has on record challenged this court to prove
jurisdiction from the beginning ofthese proceedings. The court has "closed" this claim
four times already and the plaintiff is seeking to re-open the matter once again to further
burden defendant, despite the plaintiff not providing any new discovery. Further, the
plaintiffs last motion specifically indicates his unwillingness to pursue the matter in a
proper venue. Other venues will require the demonstration and proof ofthe alleged
damages, including evidence ofthe accused engaging in alleged defamation, and proof
of personal and subject matter jurisdiction over the defendant, and presented on all court
records as lawfully required.

Defendant motions the court to dismiss the claim with prejudice as well as sanction
arrest the plaintiff CHRISTOPHER PARIS and his attorney GLEN SHRAYER including
disbarment, for misleading the court with false allegations to burden defendants at the
expense of Florida tax payers. Defendant moves to resolve this matter and dismiss with
prejudice before it is challenged in a higher court, including the United States Supreme
Court for multiple violations of defendant(s) due process.

Submitted,

with explicit reservation of all my unalienable rights

and without prejudice to any of my unalienable rights.




             rman
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              Exh b t A
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                          FEDERAL ELECTION COMMISSION
                           Washington, DC 20463

    i
 VIA ELECTRONIC MAIL                                                               July 24, 2020
 Daryl Guberman
 Ouberman-PMC, LLC
 1538 West Broad Street
 Stratford, CT 06615
 darvltqrs@vahoo.com
                                                            RE:     MUR 7655
                                                                    Daryl Guberman


 Dear Mr. Guberman:


         On October 28,2019, the Federal Election Commission ("Commission") notified you of
 a complaint alleging violations of certain sections of the Federal Election Campaign Act of 1971,
 as amended (the "Act"). On July 15, 2020, based upon the information contained in the
 complaint and information provided by respondents, the Commission decided to dismiss
 allegations that you violated provisions of the Act. The Commission then closed its file in this
 matter. A copy of the General Counsel's Report, which more fully explains the basis for the
 Commission's decision, is enclosed.

        Documents related to the case will be placed on the public record within 30 days. See
 Statement of Policy Regarding Disclosure of Closed Enforcement and Related Files,
 68 Fed. Reg. 70,426(Dec. 18, 2003) and Statement of Policy Regarding Placing First General
 Counsel's Reports on the Public Record, 74 Fed. Reg. 66132(Dec. 14, 2009). If you have any
 questions, please contact Don Campbell, the attorney assigned to this matter, at(202)694-1650.

                                                    Sincerely,

                                                    Lisa J. Stevenson
                                                    Acting General Counsel

                                                                    ■yO
                                                                      —■




                                             BY;    Jeff S.Jordan
                                                    Assistant General Counsel


 Enclosure:
  General Counsel's Report
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 1                             BEFORE THE FEDERAL ELECTION COmflSSION
2
3                                      ENFORCEMENT PRIORITY SYSTEM
4                                                 DISMISSAL REPORT
5
6    MUR: 7655                                                              Respondent; Daryl Guberman
7                                                                                              Don LaBelle
8
9    Complaint Receipt Date: October 25,2019
10
11   Response Date: November 4, 2019(Gubennan)
12                         November 12, 2019(LaBelle)
13
14
15
16   AUeged Statutory 52 U.S.C.§§ 30102(e)(1),30103(a), 30104(a), 30116(a)(1)(a),30118(a)
17   Regulatory Violations:        11 C.F.R. §§ 101.1,102.1,109.10,110.1(b), 110.9,114.2
18
19            The Complaint alleges that Guberman declared himself a candidate for the 2016 Senate race

20   in Connecticut, but failed to register with the Commission.^ Additionally, the Complaint alleges that

21   LaBelle, through his press-release-distribution company," made in-kind contributions to

22   Guberman's campaign by preparing and distributing free press releases and registering multiple

23   websites beuefitting Guberman.^

24            Guberman responds that he never officially announced plans to run for Senate nor did he

25   receive any donations in support of such a campaign.'* LaBelle responds that he never collected




     '        Con^l. at 1-2. 5(October 25. 2019). The Commission's records do not include any registrations filed by
     Guberman or a conunittee si^porting liis candidacy. Similarly, a search of the database of the Connecticut State
     Elections Enforcement Commission yields no results for Guberman. See
     https://seec.ct.gov/eCrisReporting/SearchingConunittee.aspx (last visited December 18.2019).
     ■        The press-release-distribution cou^any is kno^Ml by \mious names,including Manufacturing Partners.
     MFGPartners.net. Industrial Leaders Groi^. and industrialPR.net.

     ^        Compl. at 1-4.

     *        Guberman Resp. at 1 (November 4. 2019). Gubemian's website contains inconsistent messages: it features
     multiple variations ofthe phrases "Guberman for Senate." as well as "I'\"e chosen to run as a wxite-in candidate." and
     "Candidate for United States Senate." See http://darvle;iibennian mm/(last \isited December 18. 2019). Also, the site
     features a "Donate to Cauqjaign" page, wth a link for contributions and the statement "Please join me ... by donating to
     my campaign for United States Senate." See http://darvlguberman.coni/donate/. In contrast, the site also states "at this
     lime I've not yet decided whether or to run for Senate.""potential Candidate for United States Senate,""I am
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1    donations for a Guberman campaign, never purchased or distributed any promotional materials to

2    promote such a campaign, and that neither he nor Guberman ever announced Guberman as a

3    candidate.^ We do not have information that indicates Gubennan raised or spent over $5,000

4    toward a federal campaign.

5             Based on its experience and expertise, the Commission has established an Enforcement

6    Priority System using formal, pre-determined scoring criteria to allocate agency resources and

7    assess whether particular matters warrant further administrative enforcement proceedings. These

8    criteria include (1)the gravity of the alleged violation, taking into account both the type of activity

9    and the amount in violation;(2)the apparent impact the alleged violation may have had on the

10   electoral process;(3)the complexity of the legal issues raised in the matter; and (4)recent trends in

11   potential violations and other developments in the law. This matter is rated as low priority for

12   Commission action after application of these pre-established criteria. Given that low rating, and the

13   apparent low dollar amount at issue, we recommend that the Commission dismiss the Complaint

14   consistent with the Commission's prosecutorial discretion to determine the proper ordering of its

15   priorities and use of agency resources.^ We also recommend that the Commission close the file and

16   send the appropriate letters.

17


     considering a run," and "if I decide to run for United States Senate." See: http://darvlguberman.com/case-against-
     senator-blumenthal/. http://darvlguberman.com/about-me/.

     ^       LaBelle Resp. at I -2(November 12, 2019). LaBelle states that the articles cited in the Complaint promote
     LaBelle's businesses and other companies associated with Guberman, and do not relate to a political campaign.
     However, these press releases include one identifying LaBelle as Guberman's campaign manager (see
     https://prfocus.eom/article/Possible-Senate-Candidate-Darvl-Guberman-CaHs-Out-Dick-Blumenthal-For-Constitutional-
     Crisis 52447.html )and include multiple uses of the terms "U.S. Senate Candidate," and "potential" or "possible
     Senatorial candidate." See. e.g.. httDs://www.einDresswire.com/search?Querv=guberman-rsenaie&search=:
     https://www.airlineindustrvtodav.com/2018/05/08/u-s-senate-candidate-dai"vl-guberman-Dassionatelv-calls-for-israeli-
     pm-netanvahu-to-break-ties-with-iaf/; https://medium.coin/@riaz.backlink/anglo-iaDanese-american-aia-registrar-
     unofficial-accreditation-and-overseen-bv-china-led-554596Q8cOI: httos.V/www.guberman-Qualitv.com/darvl-guberman-
     ceo-ct-i-senate-candidate-announces-defund-nisl-meD-hits-chicago-evening-Dost/

     ^       Heckler V.          470 U.S. 821,831-32(1985).
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     Raae 3 of3


 1                                             Lisa J. Stevenson
2                                              Acting General Counsel
3
4                                              Charles Kitcher
5                                              Acting Associate General Counsel
6
          1.30.20
7                                        BY:
8    Date                                      Stephen Gura
9                                              Deputy As^ciate General Counsel
10
11
12                                             Jeff S. Jordan
13                                             Assistant General Counsel
14
15
16                                             Donald E. Campbell
17                                             Attorney
